             Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 1 of 56

                                                                                                  INVOICE
                                                                                        From      Texas Appleseed
                                                                                                  1609 Shoal Creek Blvd
                                                                                                  Ste 201
                                                                                                  Austin, TX 78701




Invoice ID        7                                                                Invoice For    Texas DFPS/HHSC
Issue Date        03/10/2020

Due Date          04/09/2020 (Net 30)

Subject           Texas Appleseed Monitoring Team; February
                  2020




Item Type         Description                                                         Quantity          Unit Price              Amount

Service           Texas Foster Care Court Monitoring - Travel (02/01/2020 -             92.91            $168.20            $15,627.28
                  02/29/2020)


Service           Texas Foster Care Monitoring (02/01/2020 - 02/29/2020)             1,257.07            $321.25           $403,837.80


Product           Expenses for Texas Foster Care Monitoring (02/01/2020 -                1.00           $2,873.38            $2,873.38
                  02/29/2020)


                                                                                                 Amount Due            $422,338.46




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




                                                             Page 1 of 1
             Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 2 of 56

                                                                                            INVOICE
                                                                                   From     Texas Appleseed
                                                                                            1609 Shoal Creek Blvd
                                                                                            Ste 201
                                                                                            Austin, TX 78701




Invoice ID       7                                                            Invoice For   Texas DFPS/HHSC
Issue Date       03/10/2020

Due Date         04/09/2020 (Net 30)

Subject          Texas Appleseed Monitoring Team; February
                 2020




Item Type        Description                                                     Quantity         Unit Price        Amount

Service          Texas Foster Care Court Monitoring - Travel - 02/01/2020 -         2.75           $197.50          $543.13
                 Travel / Linda Brooke


Service          Texas Foster Care Court Monitoring - Travel - 02/06/2020 -         0.50           $162.50           $81.25
                 Travel / Viveca Martinez


Service          Texas Foster Care Court Monitoring - Travel - 02/18/2020 -         2.42           $162.50          $393.25
                 Travel / Clarice Rogers


Service          Texas Foster Care Court Monitoring - Travel - 02/18/2020 -         3.50           $162.50          $568.75
                 Travel / Nancy Arrigona


Service          Texas Foster Care Court Monitoring - Travel - 02/18/2020 -         4.17           $197.50          $823.58
                 Travel / Linda Brooke


Service          Texas Foster Care Court Monitoring - Travel - 02/18/2020 -         0.33           $197.50           $65.18
                 Travel / Linda Brooke


Service          Texas Foster Care Court Monitoring - Travel - 02/18/2020 -         0.25           $197.50           $49.38
                 Travel / Linda Brooke


Service          Texas Foster Care Court Monitoring - Travel - 02/18/2020 -         3.00           $125.00          $375.00
                 Travel / Mahiri Moody


Service          Texas Foster Care Court Monitoring - Travel - 02/18/2020 -         0.83           $125.00          $103.75
                 Travel / Mahiri Moody




                                                            Page 1 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 3 of 56

Service       Texas Foster Care Court Monitoring - Travel - 02/18/2020 -   0.25   $125.00    $31.25
              Travel / Mahiri Moody


Service       Texas Foster Care Court Monitoring - Travel - 02/18/2020 -   2.33   $125.00   $291.25
              Travel / Shay Price


Service       Texas Foster Care Court Monitoring - Travel - 02/18/2020 -   0.33   $125.00    $41.25
              Travel / Shay Price


Service       Texas Foster Care Court Monitoring - Travel - 02/18/2020 -   0.33   $125.00    $41.25
              Travel / Shay Price


Service       Texas Foster Care Court Monitoring - Travel - 02/18/2020 -   3.83   $162.50   $622.38
              Travel / Viveca Martinez


Service       Texas Foster Care Court Monitoring - Travel - 02/18/2020 -   3.00   $212.50   $637.50
              Travel / Deborah Fowler


Service       Texas Foster Care Court Monitoring - Travel - 02/18/2020 -   3.50   $197.50   $691.25
              Travel / Beth Mitchell


Service       Texas Foster Care Court Monitoring - Travel - 02/19/2020 -   1.00   $162.50   $162.50
              Travel / Nancy Arrigona


Service       Texas Foster Care Court Monitoring - Travel - 02/19/2020 -   0.58   $197.50   $114.55
              Travel / Linda Brooke


Service       Texas Foster Care Court Monitoring - Travel - 02/19/2020 -   0.50   $197.50    $98.75
              Travel / Linda Brooke


Service       Texas Foster Care Court Monitoring - Travel - 02/19/2020 -   0.25   $125.00    $31.25
              Travel / Mahiri Moody


Service       Texas Foster Care Court Monitoring - Travel - 02/19/2020 -   0.25   $125.00    $31.25
              Travel / Mahiri Moody


Service       Texas Foster Care Court Monitoring - Travel - 02/19/2020 -   0.50   $125.00    $62.50
              Travel / Shay Price


Service       Texas Foster Care Court Monitoring - Travel - 02/19/2020 -   0.50   $125.00    $62.50
              Travel / Shay Price


Service       Texas Foster Care Court Monitoring - Travel - 02/19/2020 -   1.08   $162.50   $175.50
              Travel / Viveca Martinez


Service       Texas Foster Care Court Monitoring - Travel - 02/20/2020 -   2.42   $162.50   $393.25
              Travel / Clarice Rogers


Service       Texas Foster Care Court Monitoring - Travel - 02/20/2020 -   0.25   $162.50    $40.63
              Travel / Nancy Arrigona




                                                         Page 2 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 4 of 56

Service       Texas Foster Care Court Monitoring - Travel - 02/20/2020 -   3.25   $162.50   $528.13
              Travel / Nancy Arrigona


Service       Texas Foster Care Court Monitoring - Travel - 02/20/2020 -   0.25   $197.50    $49.38
              Travel / Linda Brooke


Service       Texas Foster Care Court Monitoring - Travel - 02/20/2020 -   4.50   $197.50   $888.75
              Travel / Linda Brooke


Service       Texas Foster Care Court Monitoring - Travel - 02/20/2020 -   0.25   $125.00    $31.25
              Travel / Mahiri Moody


Service       Texas Foster Care Court Monitoring - Travel - 02/20/2020 -   3.00   $125.00   $375.00
              Travel / Mahiri Moody


Service       Texas Foster Care Court Monitoring - Travel - 02/20/2020 -   0.33   $125.00    $41.25
              Travel / Shay Price


Service       Texas Foster Care Court Monitoring - Travel - 02/20/2020 -   3.00   $125.00   $375.00
              Travel / Shay Price


Service       Texas Foster Care Court Monitoring - Travel - 02/20/2020 -   1.50   $212.50   $318.75
              Travel / Deborah Fowler


Service       Texas Foster Care Court Monitoring - Travel - 02/20/2020 -   3.75   $162.50   $609.38
              Travel / Viveca Martinez


Service       Texas Foster Care Court Monitoring - Travel - 02/20/2020 -   4.50   $197.50   $888.75
              Travel / Beth Mitchell


Service       Texas Foster Care Court Monitoring - Travel - 02/23/2020 -   4.17   $197.50   $823.58
              Travel / Linda Brooke


Service       Texas Foster Care Court Monitoring - Travel - 02/23/2020 -   0.25   $197.50    $49.38
              Travel / Linda Brooke


Service       Texas Foster Care Court Monitoring - Travel - 02/23/2020 -   0.25   $125.00    $31.25
              Travel / Shay Price


Service       Texas Foster Care Court Monitoring - Travel - 02/23/2020 -   0.25   $125.00    $31.25
              Travel / Shay Price


Service       Texas Foster Care Court Monitoring - Travel - 02/23/2020 -   2.00   $125.00   $250.00
              Travel / Shay Price


Service       Texas Foster Care Court Monitoring - Travel - 02/23/2020 -   1.50   $212.50   $318.75
              Travel / Deborah Fowler


Service       Texas Foster Care Court Monitoring - Travel - 02/23/2020 -   2.00   $162.50   $325.00
              Travel / Viveca Martinez




                                                         Page 3 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 5 of 56

Service       Texas Foster Care Court Monitoring - Travel - 02/24/2020 -   0.42   $197.50    $82.95
              Travel / Linda Brooke


Service       Texas Foster Care Court Monitoring - Travel - 02/24/2020 -   0.25   $125.00    $31.25
              Travel / Shay Price


Service       Texas Foster Care Court Monitoring - Travel - 02/24/2020 -   0.25   $125.00    $31.25
              Travel / Shay Price


Service       Texas Foster Care Court Monitoring - Travel - 02/24/2020 -   0.67   $162.50   $108.88
              Travel / Viveca Martinez


Service       Texas Foster Care Court Monitoring - Travel - 02/25/2020 -   0.42   $197.50    $82.95
              Travel / Linda Brooke


Service       Texas Foster Care Court Monitoring - Travel - 02/25/2020 -   2.00   $125.00   $250.00
              Travel / Mahiri Moody


Service       Texas Foster Care Court Monitoring - Travel - 02/25/2020 -   0.25   $125.00    $31.25
              Travel / Shay Price


Service       Texas Foster Care Court Monitoring - Travel - 02/25/2020 -   0.25   $125.00    $31.25
              Travel / Shay Price


Service       Texas Foster Care Court Monitoring - Travel - 02/25/2020 -   1.00   $162.50   $162.50
              Travel / Clarice Rogers


Service       Texas Foster Care Court Monitoring - Travel - 02/25/2020 -   0.50   $162.50    $81.25
              Travel / Viveca Martinez


Service       Texas Foster Care Court Monitoring - Travel - 02/26/2020 -   4.50   $197.50   $888.75
              Travel / Linda Brooke


Service       Texas Foster Care Court Monitoring - Travel - 02/26/2020 -   2.00   $125.00   $250.00
              Travel / Mahiri Moody


Service       Texas Foster Care Court Monitoring - Travel - 02/26/2020 -   0.25   $125.00    $31.25
              Travel / Shay Price


Service       Texas Foster Care Court Monitoring - Travel - 02/26/2020 -   2.00   $125.00   $250.00
              Travel / Shay Price


Service       Texas Foster Care Court Monitoring - Travel - 02/26/2020 -   1.00   $162.50   $162.50
              Travel / Clarice Rogers


Service       Texas Foster Care Court Monitoring - Travel - 02/26/2020 -   1.50   $212.50   $318.75
              Travel / Deborah Fowler


Service       Texas Foster Care Court Monitoring - Travel - 02/26/2020 -   2.25   $162.50   $365.63
              Travel / Viveca Martinez




                                                         Page 4 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 6 of 56

Service       Texas Foster Care Monitoring - 02/01/2020 - Document              0.42   $300.00    $126.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/01/2020 - Document              0.29   $300.00     $87.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/01/2020 - Document              4.00   $325.00   $1,300.00
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/02/2020 - Project               3.25   $395.00   $1,283.75
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 02/02/2020 - Document              5.50   $325.00   $1,787.50
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/02/2020 - Meetings with         7.83   $325.00   $2,544.75
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Clarice
              Rogers


Service       Texas Foster Care Monitoring - 02/02/2020 - Document              2.50   $250.00    $625.00
              Review/Data Analysis/Verification Work / Yamanda Wright


Service       Texas Foster Care Monitoring - 02/02/2020 - Document              4.50   $425.00   $1,912.50
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/02/2020 - Project               2.75   $325.00    $893.75
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 02/03/2020 - Document              0.96   $300.00    $288.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/03/2020 - Communication         0.16   $300.00     $48.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Robert McManus


Service       Texas Foster Care Monitoring - 02/03/2020 - Meetings with         6.00   $325.00   $1,950.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Clarice
              Rogers


Service       Texas Foster Care Monitoring - 02/03/2020 - Communication         0.89   $300.00    $267.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Robert McManus


Service       Texas Foster Care Monitoring - 02/03/2020 - Meetings with         0.50   $425.00    $212.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 02/03/2020 - Project               1.00   $425.00    $425.00
              Management & Planning / Deborah Fowler



                                                           Page 5 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 7 of 56

Service       Texas Foster Care Monitoring - 02/03/2020 - Meetings with         2.00   $325.00    $650.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Clarice
              Rogers


Service       Texas Foster Care Monitoring - 02/03/2020 - Project               8.25   $395.00   $3,258.75
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 02/03/2020 - Project               2.00   $325.00    $650.00
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/03/2020 - Document              6.25   $325.00   $2,031.25
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/03/2020 - Project               5.50   $250.00   $1,375.00
              Management & Planning / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/03/2020 - Project               5.50   $250.00   $1,375.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/03/2020 - Document              1.65   $250.00    $412.50
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/03/2020 - Project               6.00   $325.00   $1,950.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 02/04/2020 - Meetings with         5.75   $325.00   $1,868.75
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Clarice
              Rogers


Service       Texas Foster Care Monitoring - 02/04/2020 - Document              1.03   $300.00    $309.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/04/2020 - Project               9.08   $395.00   $3,586.60
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 02/04/2020 - Document              0.39   $300.00    $117.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/04/2020 - Document              3.00   $250.00    $750.00
              Review/Data Analysis/Verification Work / Jennifer Carreon


Service       Texas Foster Care Monitoring - 02/04/2020 - Meetings with         3.00   $325.00    $975.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Clarice
              Rogers


Service       Texas Foster Care Monitoring - 02/04/2020 - Document              9.00   $325.00   $2,925.00
              Review/Data Analysis/Verification Work / Nancy Arrigona




                                                           Page 6 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 8 of 56

Service       Texas Foster Care Monitoring - 02/04/2020 - Project                6.50   $250.00   $1,625.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/04/2020 - Report and             6.50   $250.00   $1,625.00
              Document Preparation / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/04/2020 - Report and             2.00   $250.00    $500.00
              Document Preparation / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/04/2020 - Project                3.25   $250.00    $812.50
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/04/2020 - Project               12.00   $325.00   $3,900.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 02/04/2020 - Document               1.42   $425.00    $603.50
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/04/2020 - Document               2.00   $425.00    $850.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/05/2020 - Document               1.67   $300.00    $501.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/05/2020 - Document               1.01   $300.00    $303.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/05/2020 - Document               0.10   $300.00     $30.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/05/2020 - Project                9.42   $395.00   $3,720.90
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 02/05/2020 - Meetings with          6.00   $325.00   $1,950.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Clarice
              Rogers


Service       Texas Foster Care Monitoring - 02/05/2020 - Meetings with          1.83   $325.00    $594.75
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Clarice
              Rogers


Service       Texas Foster Care Monitoring - 02/05/2020 - Document               3.00   $250.00    $750.00
              Review/Data Analysis/Verification Work / Jennifer Carreon


Service       Texas Foster Care Monitoring - 02/05/2020 - Project                1.50   $325.00    $487.50
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/05/2020 - Document               8.50   $325.00   $2,762.50
              Review/Data Analysis/Verification Work / Nancy Arrigona




                                                           Page 7 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 9 of 56

Service       Texas Foster Care Monitoring - 02/05/2020 - Report and             7.00   $250.00   $1,750.00
              Document Preparation / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/05/2020 - Project                7.33   $250.00   $1,832.50
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/05/2020 - Report and             1.00   $250.00    $250.00
              Document Preparation / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/05/2020 - Project                1.83   $250.00    $457.50
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/05/2020 - Document               3.67   $425.00   $1,559.75
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/05/2020 - Project               11.00   $325.00   $3,575.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 02/05/2020 - Document               2.00   $425.00    $850.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/05/2020 - Document               1.33   $425.00    $565.25
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/06/2020 - Document               1.36   $300.00    $408.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/06/2020 - Communication          0.26   $300.00     $78.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Robert McManus


Service       Texas Foster Care Monitoring - 02/06/2020 - Document               1.16   $300.00    $348.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/06/2020 - Project                9.75   $395.00   $3,851.25
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 02/06/2020 - Document               1.50   $250.00    $375.00
              Review/Data Analysis/Verification Work / Jennifer Carreon


Service       Texas Foster Care Monitoring - 02/06/2020 - Meetings with          5.50   $325.00   $1,787.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Clarice
              Rogers


Service       Texas Foster Care Monitoring - 02/06/2020 - Meetings with          3.25   $325.00   $1,056.25
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Clarice
              Rogers


Service       Texas Foster Care Monitoring - 02/06/2020 - Document               7.50   $325.00   $2,437.50
              Review/Data Analysis/Verification Work / Nancy Arrigona



                                                           Page 8 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 10 of 56

Service       Texas Foster Care Monitoring - 02/06/2020 - Report and            5.00   $250.00   $1,250.00
              Document Preparation / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/06/2020 - Report and            2.50   $250.00    $625.00
              Document Preparation / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/06/2020 - Project               1.17   $250.00    $292.50
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/06/2020 - Project               6.83   $250.00   $1,707.50
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/06/2020 - Meetings with         2.00   $425.00    $850.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 02/06/2020 - Document              2.00   $425.00    $850.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/07/2020 - Document              0.28   $300.00     $84.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/07/2020 - Communication         0.41   $300.00    $123.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Robert McManus


Service       Texas Foster Care Monitoring - 02/07/2020 - Project               5.75   $395.00   $2,271.25
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 02/07/2020 - Document              5.00   $250.00   $1,250.00
              Review/Data Analysis/Verification Work / Jennifer Carreon


Service       Texas Foster Care Monitoring - 02/07/2020 - Document              8.42   $325.00   $2,736.50
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 02/07/2020 - Meetings with         3.00   $325.00    $975.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nancy
              Arrigona


Service       Texas Foster Care Monitoring - 02/07/2020 - Document              3.25   $325.00   $1,056.25
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/07/2020 - Communication         4.00   $250.00   $1,000.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Mahiri Moody


Service       Texas Foster Care Monitoring - 02/07/2020 - Report and            2.50   $250.00    $625.00
              Document Preparation / Mahiri Moody




                                                           Page 9 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 11 of 56

Service       Texas Foster Care Monitoring - 02/07/2020 - Report and            2.00   $250.00    $500.00
              Document Preparation / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/07/2020 - Report and            4.00   $250.00   $1,000.00
              Document Preparation / Shay Price


Service       Texas Foster Care Monitoring - 02/07/2020 - Project               3.83   $250.00    $957.50
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/07/2020 - Project               3.00   $425.00   $1,275.00
              Management & Planning / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/07/2020 - Project               3.00   $325.00    $975.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 02/07/2020 - Meetings with         3.00   $395.00   $1,185.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke


Service       Texas Foster Care Monitoring - 02/08/2020 - Document              2.00   $300.00    $600.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/08/2020 - Document              5.50   $325.00   $1,787.50
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/09/2020 - Communication         0.20   $300.00     $60.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Robert McManus


Service       Texas Foster Care Monitoring - 02/09/2020 - Project               1.50   $395.00    $592.50
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 02/09/2020 - Document              4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Yamanda Wright


Service       Texas Foster Care Monitoring - 02/09/2020 - Document              9.83   $325.00   $3,194.75
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 02/09/2020 - Report and            1.00   $250.00    $250.00
              Document Preparation / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/09/2020 - Project               1.00   $250.00    $250.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/09/2020 - Document              1.00   $425.00    $425.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/10/2020 - Document              1.44   $300.00    $432.00
              Review/Data Analysis/Verification Work / Robert McManus




                                                          Page 10 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 12 of 56

Service       Texas Foster Care Monitoring - 02/10/2020 - Project               9.25   $395.00   $3,653.75
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 02/10/2020 - Report and            7.00   $250.00   $1,750.00
              Document Preparation / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/10/2020 - Project               7.00   $250.00   $1,750.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/10/2020 - Project               2.00   $250.00    $500.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/10/2020 - Document              6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Jennifer Carreon


Service       Texas Foster Care Monitoring - 02/10/2020 - Document              1.50   $425.00    $637.50
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/10/2020 - Document              6.25   $325.00   $2,031.25
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 02/10/2020 - Communication         5.25   $325.00   $1,706.25
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Clarice Rogers


Service       Texas Foster Care Monitoring - 02/10/2020 - Document              8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/10/2020 - Communication         1.75   $325.00    $568.75
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Viveca Martinez


Service       Texas Foster Care Monitoring - 02/10/2020 - Project               6.25   $325.00   $2,031.25
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 02/11/2020 - Document              2.98   $300.00    $894.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/11/2020 - Communication         1.83   $395.00    $722.85
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Linda Brooke


Service       Texas Foster Care Monitoring - 02/11/2020 - Meetings with         0.83   $395.00    $327.85
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke


Service       Texas Foster Care Monitoring - 02/11/2020 - Project               7.17   $395.00   $2,832.15
              Management & Planning / Linda Brooke




                                                          Page 11 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 13 of 56

Service       Texas Foster Care Monitoring - 02/11/2020 - Meetings with            2.67   $250.00    $667.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 02/11/2020 - Document                 3.83   $250.00    $957.50
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 02/11/2020 - Document                 3.50   $250.00    $875.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/11/2020 - Communication            1.00   $250.00    $250.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Mahiri Moody


Service       Texas Foster Care Monitoring - 02/11/2020 - Communication            0.83   $250.00    $207.50
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Mahiri Moody


Service       Texas Foster Care Monitoring - 02/11/2020 - Report and               1.00   $250.00    $250.00
              Document Preparation / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/11/2020 - Report and               2.00   $250.00    $500.00
              Document Preparation / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/11/2020 - Project                  1.50   $250.00    $375.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/11/2020 - Document                 4.25   $250.00   $1,062.50
              Review/Data Analysis/Verification Work / Jennifer Carreon


Service       Texas Foster Care Monitoring - 02/11/2020 - Document                 1.00   $425.00    $425.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/11/2020 - Meetings with            4.00   $425.00   $1,700.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 02/11/2020 - Communication            2.00   $325.00    $650.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/11/2020 - Meetings with            0.75   $325.00    $243.75
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nancy
              Arrigona


Service       Texas Foster Care Monitoring - 02/11/2020 - Document                 5.50   $325.00   $1,787.50
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/11/2020 - Communication            7.00   $325.00   $2,275.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Clarice Rogers


                                                           Page 12 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 14 of 56

Service       Texas Foster Care Monitoring - 02/11/2020 - Communication         5.42   $325.00   $1,761.50
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Clarice Rogers


Service       Texas Foster Care Monitoring - 02/11/2020 - Communication         1.83   $325.00    $594.75
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Viveca Martinez


Service       Texas Foster Care Monitoring - 02/11/2020 - Meetings with         0.83   $325.00    $269.75
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Viveca
              Martinez


Service       Texas Foster Care Monitoring - 02/11/2020 - Project               8.00   $325.00   $2,600.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 02/12/2020 - Document              0.84   $300.00    $252.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/12/2020 - Communication         0.16   $300.00     $48.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Robert McManus


Service       Texas Foster Care Monitoring - 02/12/2020 - Communication         0.78   $300.00    $234.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Robert McManus


Service       Texas Foster Care Monitoring - 02/12/2020 - Project               9.00   $395.00   $3,555.00
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 02/12/2020 - Document              0.26   $300.00     $78.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/12/2020 - Document              6.25   $250.00   $1,562.50
              Review/Data Analysis/Verification Work / Jennifer Carreon


Service       Texas Foster Care Monitoring - 02/12/2020 - Document              3.00   $425.00   $1,275.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/12/2020 - Project               1.00   $425.00    $425.00
              Management & Planning / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/12/2020 - Judicial              0.25   $425.00    $106.25
              Proceeding / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/12/2020 - Confer with the       0.25   $425.00    $106.25
              Court, a Party, Special Master or Consultants / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/12/2020 - Document              2.00   $425.00    $850.00
              Review/Data Analysis/Verification Work / Deborah Fowler




                                                          Page 13 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 15 of 56

Service       Texas Foster Care Monitoring - 02/12/2020 - Document                  6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/12/2020 - Meetings with             0.25   $250.00     $62.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 02/12/2020 - Document                  6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 02/12/2020 - Communication             0.25   $250.00     $62.50
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Mahiri Moody


Service       Texas Foster Care Monitoring - 02/12/2020 - Project                   0.75   $250.00    $187.50
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/12/2020 - Report and                0.75   $250.00    $187.50
              Document Preparation / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/12/2020 - Project                   0.50   $250.00    $125.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/12/2020 - Document                  9.00   $325.00   $2,925.00
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/12/2020 - Project                  10.25   $325.00   $3,331.25
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 02/13/2020 - Document                  2.38   $300.00    $714.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/13/2020 - Project                   1.50   $425.00    $637.50
              Management & Planning / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/13/2020 - Document                 10.42   $395.00   $4,115.90
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 02/13/2020 - Project                   1.50   $250.00    $375.00
              Management & Planning / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/13/2020 - Project                   1.50   $250.00    $375.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/13/2020 - Report and                0.50   $250.00    $125.00
              Document Preparation / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/13/2020 - Project                   0.50   $250.00    $125.00
              Management & Planning / Shay Price




                                                           Page 14 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 16 of 56

Service       Texas Foster Care Monitoring - 02/13/2020 - Meetings with             1.50   $250.00    $375.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Mahiri
              Moody


Service       Texas Foster Care Monitoring - 02/13/2020 - Meetings with             1.50   $250.00    $375.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 02/13/2020 - Communication             5.42   $325.00   $1,761.50
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Clarice Rogers


Service       Texas Foster Care Monitoring - 02/13/2020 - Project                   4.83   $325.00   $1,569.75
              Management & Planning / Clarice Rogers


Service       Texas Foster Care Monitoring - 02/13/2020 - Meetings with             0.67   $250.00    $167.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Mahiri
              Moody


Service       Texas Foster Care Monitoring - 02/13/2020 - Meetings with             0.67   $250.00    $167.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 02/13/2020 - Project                   0.50   $250.00    $125.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/13/2020 - Project                   0.50   $250.00    $125.00
              Management & Planning / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/13/2020 - Report and                2.33   $250.00    $582.50
              Document Preparation / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/13/2020 - Project                   2.33   $250.00    $582.50
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/13/2020 - Document                  1.50   $250.00    $375.00
              Review/Data Analysis/Verification Work / Jennifer Carreon


Service       Texas Foster Care Monitoring - 02/13/2020 - Document                 10.50   $325.00   $3,412.50
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/13/2020 - Project                   9.50   $325.00   $3,087.50
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 02/13/2020 - Meetings with             0.33   $395.00    $130.35
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke




                                                           Page 15 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 17 of 56

Service       Texas Foster Care Monitoring - 02/13/2020 - Meetings with         0.75   $395.00    $296.25
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke


Service       Texas Foster Care Monitoring - 02/13/2020 - Meetings with         0.75   $395.00    $296.25
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke


Service       Texas Foster Care Monitoring - 02/14/2020 - Communication         0.46   $300.00    $138.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Robert McManus


Service       Texas Foster Care Monitoring - 02/14/2020 - Document              0.31   $300.00     $93.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/14/2020 - Document              1.68   $300.00    $504.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/14/2020 - Document              2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Jennifer Carreon


Service       Texas Foster Care Monitoring - 02/14/2020 - Project               2.00   $325.00    $650.00
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/14/2020 - Document              5.25   $325.00   $1,706.25
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/14/2020 - Document              1.75   $250.00    $437.50
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/14/2020 - Report and            5.25   $250.00   $1,312.50
              Document Preparation / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/14/2020 - Project               7.25   $250.00   $1,812.50
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/14/2020 - Meetings with         6.42   $325.00   $2,086.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Clarice
              Rogers


Service       Texas Foster Care Monitoring - 02/14/2020 - Project               9.00   $325.00   $2,925.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 02/14/2020 - Document              3.25   $425.00   $1,381.25
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/15/2020 - Document              5.25   $250.00   $1,312.50
              Review/Data Analysis/Verification Work / Jennifer Carreon




                                                          Page 16 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 18 of 56

Service       Texas Foster Care Monitoring - 02/15/2020 - Project             0.50   $325.00    $162.50
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/15/2020 - Document            7.00   $425.00   $2,975.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/16/2020 - Document            0.29   $300.00     $87.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/16/2020 - Document            5.75   $250.00   $1,437.50
              Review/Data Analysis/Verification Work / Jennifer Carreon


Service       Texas Foster Care Monitoring - 02/16/2020 - Report and          3.67   $250.00    $917.50
              Document Preparation / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/16/2020 - Project             1.33   $250.00    $332.50
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/16/2020 - Document            7.00   $425.00   $2,975.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/17/2020 - Document            0.75   $250.00    $187.50
              Review/Data Analysis/Verification Work / Yamanda Wright


Service       Texas Foster Care Monitoring - 02/17/2020 - Document            0.92   $300.00    $276.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/17/2020 - Project             2.50   $395.00    $987.50
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 02/17/2020 - Communication       0.06   $300.00     $18.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Robert McManus


Service       Texas Foster Care Monitoring - 02/17/2020 - Report and          1.00   $250.00    $250.00
              Document Preparation / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/17/2020 - Project             5.00   $250.00   $1,250.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/17/2020 - Document            4.50   $250.00   $1,125.00
              Review/Data Analysis/Verification Work / Jennifer Carreon


Service       Texas Foster Care Monitoring - 02/17/2020 - Project             2.75   $325.00    $893.75
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/17/2020 - Project             4.00   $325.00   $1,300.00
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/17/2020 - Document            1.50   $325.00    $487.50
              Review/Data Analysis/Verification Work / Nancy Arrigona




                                                         Page 17 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 19 of 56

Service       Texas Foster Care Monitoring - 02/17/2020 - Project               4.50   $325.00   $1,462.50
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 02/17/2020 - Document              4.25   $425.00   $1,806.25
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/18/2020 - Document              2.76   $300.00    $828.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/18/2020 - Document              2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Jennifer Carreon


Service       Texas Foster Care Monitoring - 02/18/2020 - Document              3.25   $325.00   $1,056.25
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 02/18/2020 - Project               5.00   $325.00   $1,625.00
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/18/2020 - Project               0.50   $325.00    $162.50
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/18/2020 - Document              0.75   $325.00    $243.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/18/2020 - Project               3.58   $395.00   $1,414.10
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 02/18/2020 - Document              1.17   $395.00    $462.15
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 02/18/2020 - Communication         1.00   $250.00    $250.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Mahiri Moody


Service       Texas Foster Care Monitoring - 02/18/2020 - Document              3.58   $250.00    $895.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/18/2020 - Meetings with         1.17   $250.00    $292.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Mahiri
              Moody


Service       Texas Foster Care Monitoring - 02/18/2020 - Document              0.50   $250.00    $125.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 02/18/2020 - Document              1.17   $250.00    $292.50
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 02/18/2020 - Project               5.00   $250.00   $1,250.00
              Management & Planning / Shay Price




                                                          Page 18 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 20 of 56

Service       Texas Foster Care Monitoring - 02/18/2020 - Document              1.17   $325.00    $380.25
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 02/18/2020 - Project               0.50   $325.00    $162.50
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 02/18/2020 - Project               2.25   $425.00    $956.25
              Management & Planning / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/18/2020 - Communication         0.33   $395.00    $130.35
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Linda Brooke


Service       Texas Foster Care Monitoring - 02/18/2020 - Project               0.92   $395.00    $363.40
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 02/18/2020 - Meetings with         3.00   $395.00   $1,185.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Beth
              Mitchell


Service       Texas Foster Care Monitoring - 02/19/2020 - Document              2.12   $300.00    $636.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/19/2020 - Communication         0.18   $300.00     $54.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Robert McManus


Service       Texas Foster Care Monitoring - 02/19/2020 - Document              0.59   $300.00    $177.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/19/2020 - Meetings with         9.25   $325.00   $3,006.25
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Clarice
              Rogers


Service       Texas Foster Care Monitoring - 02/19/2020 - Document              8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/19/2020 - Document              8.75   $395.00   $3,456.25
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 02/19/2020 - Document              8.25   $250.00   $2,062.50
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/19/2020 - Document              8.25   $250.00   $2,062.50
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 02/19/2020 - Meetings with         4.50   $425.00   $1,912.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler



                                                          Page 19 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 21 of 56

Service       Texas Foster Care Monitoring - 02/19/2020 - Document              3.00   $425.00   $1,275.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/19/2020 - Document              1.00   $425.00    $425.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/19/2020 - Document              8.25   $325.00   $2,681.25
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 02/19/2020 - Meetings with         8.50   $395.00   $3,357.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Beth
              Mitchell


Service       Texas Foster Care Monitoring - 02/20/2020 - Communication         0.19   $300.00     $57.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Robert McManus


Service       Texas Foster Care Monitoring - 02/20/2020 - Document              1.18   $300.00    $354.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/20/2020 - Communication         0.10   $300.00     $30.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Robert McManus


Service       Texas Foster Care Monitoring - 02/20/2020 - Document              0.56   $300.00    $168.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/20/2020 - Communication         0.06   $300.00     $18.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Robert McManus


Service       Texas Foster Care Monitoring - 02/20/2020 - Meetings with         8.42   $325.00   $2,736.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Clarice
              Rogers


Service       Texas Foster Care Monitoring - 02/20/2020 - Document              4.50   $250.00   $1,125.00
              Review/Data Analysis/Verification Work / Jennifer Carreon


Service       Texas Foster Care Monitoring - 02/20/2020 - Document              7.75   $325.00   $2,518.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/20/2020 - Project               0.25   $325.00     $81.25
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/20/2020 - Document              7.00   $395.00   $2,765.00
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 02/20/2020 - Document              7.25   $250.00   $1,812.50
              Review/Data Analysis/Verification Work / Mahiri Moody




                                                          Page 20 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 22 of 56

Service       Texas Foster Care Monitoring - 02/20/2020 - Document              7.25   $250.00   $1,812.50
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 02/20/2020 - Document              7.50   $425.00   $3,187.50
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/20/2020 - Meetings with         0.42   $425.00    $178.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 02/20/2020 - Document              7.25   $325.00   $2,356.25
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 02/20/2020 - Meetings with         5.00   $395.00   $1,975.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Beth
              Mitchell


Service       Texas Foster Care Monitoring - 02/21/2020 - Document              0.60   $300.00    $180.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/21/2020 - Document              2.50   $250.00    $625.00
              Review/Data Analysis/Verification Work / Jennifer Carreon


Service       Texas Foster Care Monitoring - 02/21/2020 - Communication         1.42   $395.00    $560.90
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Linda Brooke


Service       Texas Foster Care Monitoring - 02/21/2020 - Communication         0.75   $395.00    $296.25
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Linda Brooke


Service       Texas Foster Care Monitoring - 02/21/2020 - Project               6.17   $395.00   $2,437.15
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 02/21/2020 - Document              0.75   $395.00    $296.25
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 02/21/2020 - Meetings with         2.00   $325.00    $650.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nancy
              Arrigona


Service       Texas Foster Care Monitoring - 02/21/2020 - Project               1.00   $325.00    $325.00
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/21/2020 - Document              2.25   $325.00    $731.25
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/21/2020 - Document              4.00   $325.00   $1,300.00
              Review/Data Analysis/Verification Work / Nancy Arrigona



                                                          Page 21 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 23 of 56

Service       Texas Foster Care Monitoring - 02/21/2020 - Meetings with            1.50   $250.00    $375.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Mahiri
              Moody


Service       Texas Foster Care Monitoring - 02/21/2020 - Report and               3.50   $250.00    $875.00
              Document Preparation / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/21/2020 - Meetings with            1.00   $250.00    $250.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 02/21/2020 - Project                  4.50   $250.00   $1,125.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/21/2020 - Judicial                 0.25   $425.00    $106.25
              Proceeding / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/21/2020 - Confer with the          0.25   $425.00    $106.25
              Court, a Party, Special Master or Consultants / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/21/2020 - Confer with the          0.25   $425.00    $106.25
              Court, a Party, Special Master or Consultants / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/21/2020 - Confer with the          0.17   $425.00     $72.25
              Court, a Party, Special Master or Consultants / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/21/2020 - Meetings with            1.00   $425.00    $425.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 02/21/2020 - Project                  7.00   $325.00   $2,275.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 02/22/2020 - Document                 1.05   $300.00    $315.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/22/2020 - Document                 5.50   $325.00   $1,787.50
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/22/2020 - Document                 2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Yamanda Wright


Service       Texas Foster Care Monitoring - 02/22/2020 - Project                  3.00   $250.00    $750.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/22/2020 - Document                 5.00   $425.00   $2,125.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/23/2020 - Document                 4.75   $325.00   $1,543.75
              Review/Data Analysis/Verification Work / Nancy Arrigona



                                                           Page 22 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 24 of 56

Service       Texas Foster Care Monitoring - 02/23/2020 - Document         1.75   $395.00    $691.25
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 02/23/2020 - Document         1.00   $395.00    $395.00
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 02/23/2020 - Project          2.00   $250.00    $500.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/23/2020 - Project          1.25   $250.00    $312.50
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/23/2020 - Document         1.75   $250.00    $437.50
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 02/23/2020 - Document         1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 02/23/2020 - Document         1.00   $425.00    $425.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/23/2020 - Project          1.25   $325.00    $406.25
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 02/24/2020 - Document         1.08   $300.00    $324.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/24/2020 - Document         1.18   $300.00    $354.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/24/2020 - Document         5.83   $325.00   $1,894.75
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 02/24/2020 - Document         2.42   $325.00    $786.50
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 02/24/2020 - Document        10.25   $395.00   $4,048.75
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 02/24/2020 - Document         3.00   $250.00    $750.00
              Review/Data Analysis/Verification Work / Jennifer Carreon


Service       Texas Foster Care Monitoring - 02/24/2020 - Document         8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/24/2020 - Document        10.25   $250.00   $2,562.50
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 02/24/2020 - Document         9.50   $325.00   $3,087.50
              Review/Data Analysis/Verification Work / Nancy Arrigona




                                                        Page 23 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 25 of 56

Service       Texas Foster Care Monitoring - 02/24/2020 - Document        10.42   $425.00   $4,428.50
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/24/2020 - Document        10.25   $325.00   $3,331.25
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 02/25/2020 - Document         0.43   $300.00    $129.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/25/2020 - Document         1.46   $300.00    $438.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/25/2020 - Document         0.44   $300.00    $132.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/25/2020 - Document         1.63   $300.00    $489.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/25/2020 - Document         4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Yamanda Wright


Service       Texas Foster Care Monitoring - 02/25/2020 - Document        10.42   $395.00   $4,115.90
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 02/25/2020 - Document         2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Jennifer Carreon


Service       Texas Foster Care Monitoring - 02/25/2020 - Document         0.75   $395.00    $296.25
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 02/25/2020 - Document         8.75   $250.00   $2,187.50
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/25/2020 - Document        10.42   $250.00   $2,605.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 02/25/2020 - Project          1.50   $325.00    $487.50
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/25/2020 - Document         8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/25/2020 - Document         8.75   $325.00   $2,843.75
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 02/25/2020 - Document        10.70   $425.00   $4,547.50
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/25/2020 - Document        10.42   $325.00   $3,386.50
              Review/Data Analysis/Verification Work / Viveca Martinez




                                                        Page 24 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 26 of 56

Service       Texas Foster Care Monitoring - 02/26/2020 - Document              2.50   $250.00    $625.00
              Review/Data Analysis/Verification Work / Yamanda Wright


Service       Texas Foster Care Monitoring - 02/26/2020 - Document              1.61   $300.00    $483.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/26/2020 - Communication         0.37   $300.00    $111.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Robert McManus


Service       Texas Foster Care Monitoring - 02/26/2020 - Document              0.18   $300.00     $54.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/26/2020 - Document              2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Jennifer Carreon


Service       Texas Foster Care Monitoring - 02/26/2020 - Document              1.00   $395.00    $395.00
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 02/26/2020 - Document              6.17   $395.00   $2,437.15
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 02/26/2020 - Document              7.25   $250.00   $1,812.50
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/26/2020 - Document              7.25   $250.00   $1,812.50
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 02/26/2020 - Document              9.00   $325.00   $2,925.00
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/26/2020 - Document              7.25   $325.00   $2,356.25
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 02/26/2020 - Document              7.42   $425.00   $3,153.50
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/26/2020 - Meetings with         0.75   $425.00    $318.75
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 02/26/2020 - Document              9.00   $325.00   $2,925.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 02/27/2020 - Document              1.06   $300.00    $318.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/27/2020 - Meetings with         1.25   $395.00    $493.75
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke



                                                          Page 25 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 27 of 56

Service       Texas Foster Care Monitoring - 02/27/2020 - Project               8.33   $395.00   $3,290.35
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 02/27/2020 - Meetings with         0.45   $250.00    $112.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Mahiri
              Moody


Service       Texas Foster Care Monitoring - 02/27/2020 - Meetings with         0.72   $250.00    $180.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Mahiri
              Moody


Service       Texas Foster Care Monitoring - 02/27/2020 - Document              6.67   $250.00   $1,667.50
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/27/2020 - Document              0.17   $250.00     $42.50
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 02/27/2020 - Project               6.50   $250.00   $1,625.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/27/2020 - Meetings with         2.00   $325.00    $650.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nancy
              Arrigona


Service       Texas Foster Care Monitoring - 02/27/2020 - Meetings with         4.00   $325.00   $1,300.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nancy
              Arrigona


Service       Texas Foster Care Monitoring - 02/27/2020 - Confer with the       0.75   $425.00    $318.75
              Court, a Party, Special Master or Consultants / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/27/2020 - Confer with the       0.25   $425.00    $106.25
              Court, a Party, Special Master or Consultants / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/27/2020 - Document              3.00   $425.00   $1,275.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/27/2020 - Communication         1.25   $325.00    $406.25
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Viveca Martinez


Service       Texas Foster Care Monitoring - 02/27/2020 - Project               8.00   $325.00   $2,600.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 02/28/2020 - Document              1.79   $300.00    $537.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 02/28/2020 - Document              7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Mahiri Moody


                                                          Page 26 of 28
          Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 28 of 56

Service       Texas Foster Care Monitoring - 02/28/2020 - Communication           0.17   $300.00     $51.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Robert McManus


Service       Texas Foster Care Monitoring - 02/28/2020 - Project                 6.50   $250.00   $1,625.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 02/28/2020 - Document                5.50   $325.00   $1,787.50
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/28/2020 - Project                 1.50   $325.00    $487.50
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/28/2020 - Meetings with           7.42   $325.00   $2,411.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Clarice
              Rogers


Service       Texas Foster Care Monitoring - 02/28/2020 - Document                3.00   $425.00   $1,275.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 02/28/2020 - Meetings with           0.25   $425.00    $106.25
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 02/28/2020 - Communication           8.00   $325.00   $2,600.00
              or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
              Viveca Martinez


Service       Texas Foster Care Monitoring - 02/29/2020 - Project                 6.83   $325.00   $2,219.75
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 02/29/2020 - Document                7.00   $425.00   $2,975.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Product       Texas Foster Care Monitoring - 02/18/2020 - Meals / Linda           1.00    $23.08     $23.08
              Brooke


Product       Texas Foster Care Monitoring - 02/18/2020 - Lodging / Linda         1.00   $374.44    $374.44
              Brooke


Product       Texas Foster Care Monitoring - 02/18/2020 - Lodging / Linda         1.00   $374.44    $374.44
              Brooke


Product       Texas Foster Care Monitoring - 02/18/2020 - Mileage / Linda       266.00     $0.57    $151.62
              Brooke


Product       Texas Foster Care Monitoring - 02/18/2020 - Lodging / Clarice       1.00   $296.50    $296.50
              Rogers




                                                          Page 27 of 28
           Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 29 of 56

Product           Texas Foster Care Monitoring - 02/18/2020 - Lodging / Nancy            1.00            $296.50               $296.50
                  Arrigona


Product           Texas Foster Care Monitoring - 02/19/2020 - Meals / Clarice            1.00            $182.12               $182.12
                  Rogers


Product           Texas Foster Care Monitoring - 02/20/2020 - Mileage / Linda          266.00               $0.57              $151.62
                  Brooke


Product           Texas Foster Care Monitoring - 02/20/2020 - Meals / Clarice            1.00              $13.44               $13.44
                  Rogers


Product           Texas Foster Care Monitoring - 02/20/2020 - Meals / Nancy              1.00              $15.50               $15.50
                  Arrigona


Product           Texas Foster Care Monitoring - 02/23/2020 - Lodging / Linda            1.00            $325.44               $325.44
                  Brooke


Product           Texas Foster Care Monitoring - 02/23/2020 - Lodging / Linda            1.00            $325.44               $325.44
                  Brooke


Product           Texas Foster Care Monitoring - 02/23/2020 - Mileage / Linda          243.00               $0.57              $138.51
                  Brooke


Product           Texas Foster Care Monitoring - 02/25/2020 - Other / Clarice            1.00              $26.62               $26.62
                  Rogers


Product           Texas Foster Care Monitoring - 02/26/2020 - Mileage / Linda          243.00               $0.57              $138.51
                  Brooke


Product           Texas Foster Care Monitoring - 02/26/2020 - Meals / Clarice            1.00              $12.50               $12.50
                  Rogers


Product           Texas Foster Care Monitoring - 02/26/2020 - Meals / Clarice            1.00              $16.92               $16.92
                  Rogers


                                                                                                 Amount Due            $422,328.34




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




                                                            Page 28 of 28
              Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 30 of 56
Expense Report for Invoice                                                 Texas Appleseed
#7

02/18/2020                                          $23.08


Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Meals
Person       Linda Brooke




02/18/2020                                         $374.44


Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Lodging
Person       Linda Brooke
Hotel receipts for Linda for Houston trip to A Fresh Start




                                                       Page 1 of 28
Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 31 of 56




                             Page 2 of 28
Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 32 of 56




                             Page 3 of 28
              Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 33 of 56
02/18/2020                                         $374.44


Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Lodging
Person       Linda Brooke
Deborah's hotel for monitoring visit to A Fresh Start.




                                                         Page 4 of 28
Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 34 of 56




                             Page 5 of 28
Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 35 of 56




                             Page 6 of 28
Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 36 of 56




                             Page 7 of 28
Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 37 of 56




                             Page 8 of 28
             Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 38 of 56
02/18/2020                                        $154.28


Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Mileage
Person       Linda Brooke
Travel to Houston to monitor Fresh Start [266.0 miles]


02/18/2020                                        $296.50


Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Lodging
Person       Clarice Rogers
18-02-20 - La Meridien Hotel - CLarice Rogers $296.50




                                                         Page 9 of 28
Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 39 of 56




                             Page 10 of 28
              Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 40 of 56
02/18/2020                                         $296.50


Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Lodging
Person       Nancy Arrigona
hotel for fresh start monitoring trip. charged to personal
card, reimbursement requested.




                                                       Page 11 of 28
Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 41 of 56




                             Page 12 of 28
Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 42 of 56




                             Page 13 of 28
             Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 43 of 56
02/19/2020                                  $182.12


Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Meals
Person       Clarice Rogers
Meals for the whole team except Deborah




                                               Page 14 of 28
Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 44 of 56




                             Page 15 of 28
             Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 45 of 56
02/20/2020                                        $154.28


Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Mileage
Person       Linda Brooke
Return Travel from Fresh Start, Houston tx [266.0 miles]



02/20/2020                                         $13.44


Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Meals
Person       Clarice Rogers




                                                     Page 16 of 28
Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 46 of 56




                             Page 17 of 28
              Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 47 of 56
02/20/2020                                          $15.50


Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Meals
Person       Nancy Arrigona
Dinner purchased from Buckees outside of Houston -
sandwich, chips, drink, etc. Billed to appleseed credit
card.




                                                      Page 18 of 28
Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 48 of 56




                             Page 19 of 28
             Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 49 of 56
02/23/2020                                  $325.44


Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Lodging
Person       Linda Brooke
Monitoring Prairie Harbor - Linda




                                               Page 20 of 28
               Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 50 of 56
02/23/2020                                         $325.44


Client        Texas DFPS/HHSC
Project       Texas Foster Care Monitoring
Category      Lodging
Person        Linda Brooke
Monitoring Prairie Harbor - Deborah




02/23/2020                                         $140.94


Client        Texas DFPS/HHSC
Project       Texas Foster Care Monitoring
Category      Mileage
Person        Linda Brooke
Travel to Sealy Tx, monitor Prairie Harbor [243.0 miles]


02/25/2020                                          $26.62


Client        Texas DFPS/HHSC
Project       Texas Foster Care Monitoring
Category      Other
Person        Clarice Rogers
Travel to Wallis TX for site visit - gas receipt




                                                      Page 21 of 28
Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 51 of 56




                             Page 22 of 28
Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 52 of 56




                             Page 23 of 28
             Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 53 of 56
02/26/2020                                       $140.94


Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Mileage
Person       Linda Brooke
Return travel from Prairie Harbor @ 243 miles [243.0
miles]


02/26/2020                                        $12.50


Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Meals
Person       Clarice Rogers
Purchase for Clarice and Mahiri




                                                       Page 24 of 28
Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 54 of 56




                             Page 25 of 28
             Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 55 of 56
02/26/2020                                  $16.92


Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Meals
Person       Clarice Rogers
Purchase for Clarice and Mahiri




                                              Page 27 of 28
Case 2:11-cv-00084 Document 836 Filed on 03/12/20 in TXSD Page 56 of 56




                             Page 28 of 28
